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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BASEL OTTLEY,
(In the space above enter the full name(s) of the plaintiff(s).)

-against-

CITY OF NEW YORK; and POLICE OFFICER JOHN DOE

OF THE 63RD PRECINCT

 

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendant(s). If you

cannot fit the names of all of the defendants in the space provided,
Please write “see attached” in the space above and attach an additional

sheet of paper with the full list of names. The names listed in the above
caption must be identical to those contained in Part I. Addresses should

not be included here.)

I. Parties in this complaint:

19CV 9074

COMPLAINT
under the
Civil Rights Act, 42 U.S.C. § 1983
(Prisoner Complaint)

Jury Trial: & Yes O No
(check one)

 

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SEP 302019
PRO SE OFFICE

 

 

 

 

 

 

 

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper as

 

necessary.
Plaintiff Name BASEL OTTLEY
ce ID # 1941043"

 

Current Institution FRANKLIN CORRECTIONAL FACILITY

 

62 Bare Hill Road, PO Box 10, Malone, NY 12953-0010

 

Address

B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the

above caption. Attach additional sheets of paper as necessary. .

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Defendant No.

Defendant No. |

Defendant No.

Defendant No.

Defendant No.

Hi. Statement of Claim:

Name CITY .OF..NEW YORK _. Shield #
Where Currently Employed _new YORK. LAW DEPARTMENT

100 CHURCH STREET

NEW YORK, NEW YORK 10007

 

Address

Shield # UNKOWN | ,

Name POLICE OFFICER JOHN DOF,
Where Currently Employed _ 63rd PRECINCT (NYPD)

Address

 

BROOKLYN, NEW YORK

Shield #

 

Name
Where Currently Employed

Address

 

Shield #

 

Name
Where Currently Employed

Address

 

Shield #

 

Name
Where Currently Employed

Address

 

of your case. Describe how each of the defendants named in the caption

State as briefly as possible the facts
action, along with the dates and locations of all relevant events. You may

of this complaint is involved in this
wish to include further details such

as the names of other persons involved in the events giving rise to your

claims. Do not cite any cases or statutes. If you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

In what institution did the events giving rise to your claim(s) occur?

NONE

 

 

 

A.

B. Where in the institution did the events giving rise to your claim(s) occur? NONE

Cc. What date and approximate time did the events giving rise to your claim(s) occur?
FEBRUARY 17, 2019 at or about 4:00 AM

 

 

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AS INFORMED BY HECKSTALL, THAT DEFENDANT - POLICE OFFICE JOHN
Who did 63RD PRECINCT BUSTED THE DRIVER!
what?

DOE OF THE
S SIDE WINDOW
HARMED By

WHERE I WAS SITTING. As A RESULT,
I WAS THE BLUNT OBJECT USED AND THE GLASS, HECKSTALL OBSE
DEFENDANT POLICE

RVED THE

VE THEN VIOLENTLY PULLED ME OUT THE VEHICLE.
THE DEFENDANT POLICE OFFICE JOHN DOE oF THE 63RD PRECINCT BEGAN TO
ASSAULT ME (PLAINTIFF OTTLEY) WHIL

 

Pete

ry, Exhaustion of Administrative Remedies:
The Prison Litigation Reform Act ("PLRA "), 42 U.S.C. § 1997e(a), requires that “[nJo action Shall be brought
vith Fespect to prison Conditions under Section 1983 of this title, or any other Federal] law, by a Prisoner
onfined in any jail, Prison, or other Correctional facility until s

Xhausted.” Admini

uch administrative remedies as are available are
ministrative remedies are also known as &tievance Procedures,

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A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes No X

/

or other correctional facility where you were confined at the time of the events

If YES, name the jail, prison,
giving rise to your claim(s).

Does the jail, prison or other correctional facility where your claim(s) arose have a grievance

procedure?

Yes No. Do Not Know
at the jail, prison or other correctional facility where your claim(s) arose

C. Does the grievance procedure
cover some or all of your claim(s)?

Yes No Do Not Know

If YES, which claim(s)?
D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes No

en

If NO, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

Yes No
events described in this complaint, where did you file the

E. If you did file a grievance, about the
grievance?
N/A

 

Which claim(s) in this complaint did you grieve?

N/A

2 What was the result, if any?
N/A

 

3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
the highest level of the grievance process.
N/A

 

 

F, If you did not file a grievance:
If there are any reasons why you did not file a grievance, state them here: NONE

1.

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2. If you did not file a grievance but informed any officials of your claim, state who you informed,
when and how, and their response, if any:

 

 

 

 

 

 

NONE,
G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.
NONE

 

 

 

 

Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

V. Relief:
State what you want the Court to do for you (including the amount of monetary compensation, if any, that you

are seeking and the basis for such amount). __I_AM SEEKING $200,000 for DAMAGES_I_WANT.___.
PLASTIC SURGRY FOR THE SCAR, THE COST OF DAMAGING THE VEHICLE, AND MONEY FOR

THE PAID AND SUFFERING CAUSED BY DEFENDANT(S).

WHEREFORE, PLAINTIFF BASEL OTTLEY RESPECTFULLY REQUEST:

A. COMPENSATORY DAMAGES RESPECTFULLY REQUEST $50,000;

B. PUNITIVE DAMAGES AS TO DEFENDANT (S). POLICE OFFICER JOHN DOE-OF THE 63RD

woe PRECINCT +—$150,.000.
C. REASONABLE ATTORNEYS' FEES AND COST, IF ANY; AND

D. SUCH OTHER AND FURTHER RELIEF AS MAY APPEAR JUST AND PROPER.

PLAINTIFF HEREBY DEMANDS A JURY TRIAL.

 

 

 

 

 

 

 

 

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VI.

Previous lawsuits:
Have you filed other lawsuits in state or federal court dealing with the same facts involved in this

action?
Yes No X

If your answer to A is YES, describe each lawsuit by answering questions 1 through 7 below. (If there
is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using the same

 

 

 

 

 

 

 

 

 

format.)
1, Parties to the previous lawsuit:
Plaintiff
NONE
Defendants
2. Court (if federal court, name the district; if state court, name the county)
3. Docket or Index number
4, Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending? Yes No
If NO, give the approximate date of disposition
7. What was the result of the case? (For example: Was the case dismissed? Was there judgment
favor? Was the case appealed?)

in your
, NONE

 

 

Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment? .

Yes No x

If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (if
there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the

 

 

 

 

 

 

same format.)
1. Parties to the previous lawsuit:
Plaintiff
Defendants NONE
2. Court (if federal court, name the district; if state court, name the county)
3. Docket or Index number .
4. Name of Judge assigned to your case
5. Approximate date of filing lawsuit NONE
6. Is the case still pending? Yes No

 

If NO, give the approximate date of disposition

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What was the result of the case? (For example: Was the case dismissed? Was there judgment

in your favor? Was the case appealed?)
NONE

I declare under penalty of perjury that the foregoing is true and correct.
Signed this | day of September, 20.19

Signature of Plaintiff &, QO He Y

i
#19-A-1043..0 /
62 BARE HILL ROAD, PO BOX 10

Inmate Number

Institution Address
MALONE, NY 12953-0010

FRANKLIN CORRECTIONAL FACILITY

 

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide their
inmate numbers and addresses.

I declare under penalty of perjury that on this 14 day of S ept ewiber_, 20 ) 19 1 am delivering this
complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for the

Southern District of New York.

Signature of Plaintiff: Pp. Q HI of

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AFFIDAVIT OF SERVICE
NAME OF DOCUMENTS: PRISONER AUTHORIZATION; COMPLAINT UNDER THE

CIVIL RIGHTS ACT, 42 USC §1983 (OTTLEY v. CITY OF NEW YORK ET AL..,);
REQUEST TO PROCEED IN FORMA PAUPERIS

STATE OF NEW YORK )
COUNTY OF FRANKLIN)SS.:

I, Basel Ottley, being duly sworn, deposes and says:

That I have on this AG day of September, 2019, placed and submitted the within copies of the
documents or moving papers indicated above, to be duly mailed via the United States Postal
Service, through the institutional mail-room at Franklin Correctional Facility, Malone, new York

12953-0010 to be mailed to the following addresses:

UNITED STATES COURTHOUSE
SOUTHERN DISTRICT OF NEW YORK
500 PEARL STREET
NEW YORK, NEW YORK 10007

ATTN: PRO SE INTAKE/SDNY CLERK

Respectfully submitted,

Prorsl hg —

 

 

SWORN TO BEFORE ME THIS Le Ottley, Pro se
1G DAY OF September, 2019. DIN: 19-A-1043
‘).. 6 NYSID#: 00917150H
Cita Holi Sd
NOTARW PUBLIC
LISA HOPKINSON

Public, Se New York

. No F nn Coun Is.
in Fr
Qualified October 13, N WO?

Commission Expires
 

 

FRANKLIN CORRECTIONAL FACILITY
62 BARE HILL ROAD, P.O. BOX 10
MALONE, NEW YORK 12953

NAME: BASEL OTTLEY DIN: 19A1043

ATTN: PRO SE INTAKE UNIT/ SDNY

 

UNITED STATES COURTHOUSE
SOUTHERN DISTRICT OF NEW. YORK
500 PEARL STREET
NEW YORK, NY 10007

 

  

 

  

SEP SO 2019

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